             IN THE DISTRICT COURT OF THE UNITED STATES
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION
                              1:16 CR 148-2


UNITED STATES OF AMERICA,                     )
                                              )
Vs.                                           )             ORDER
                                              )
ASHLEY CHRISTINA LUNSFORD.                    )
                                              )
_____________________________________

       THIS CAUSE came on to be heard and being heard before the undersigned

at the close of a Rule 11 proceeding that was held before this Court on April 26,

2017. It appearing to the Court at the call of this matter on for hearing the Defendant

was present with her counsel, B. Todd Lentz and the Government was present and

represented through AUSA David Thorneloe. From the arguments of counsel for

the Defendant and the arguments of the Assistant United States Attorney and the

records in this cause, the Court makes the following findings:

       Findings.    On December 6, 2016 a bill of indictment (#1) was issued

charging Defendant with four counts of knowingly and intentionally obstructing and

delaying commerce by robbery, in violation of 18 U.S.C. § 1951(a). On April 26,

2017 the undersigned held an inquiry, pursuant to Rule 11 of the Federal Rules of

Criminal Procedure and accepted a plea of guilty of Defendant to count four of the

bill of indictment. At the end of the Rule 11 proceeding, this Court presented the

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issue of whether or not Defendant should now be detained, pursuant to 18 U.S.C. §

3143(a)(2).

      Discussion.     18 U.S.C. § 3143(a)(2) provides as follows:

      (2) The judicial officer shall order that a person who has been found
      guilty of an offense in a case described in subparagraph (A), (B), or (C)
      of subsection (f)(1) of section 3142 and is awaiting imposition or
      execution of sentence be detained unless ----

             (A)(i) the judicial officer finds there is a substantial likelihood
      that a motion for acquittal or new trial will be granted; or

              (ii) an attorney for the Government has recommended that no
              sentence of imprisonment be imposed on the person; or

              (B) the judicial officer finds by clear and convincing evidence
              that the person is not likely to flee or pose a danger to any other
              person or the community.

      It appears that Defendant has now entered a plea of guilty to knowingly and

intentionally obstructing commerce by robbery in violation of 18 U.S.C. § 1951(a)

which is considered to be a crime of violence as provided by 18 U.S.C. §

3142(f)(1)(A).

      The undersigned made an inquiry of Assistant United States Attorney David

Thorneloe as to whether or not there is going to be a recommendation that no

sentence of imprisonment be imposed upon Defendant. Mr. Thorneloe advised the

Court that such a recommendation could not be made in this matter.

      Due to the plea of guilty, the undersigned cannot find there is a substantial

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likelihood that a motion for acquittal or new trial will be granted. As a result of the

foregoing, it would appear, and the Court is of the opinion that the Court is required

to apply the factors as set forth under 18 U.S.C. § 3143(a)(2) which mandate the

detention of Defendant.

                                       ORDER

      IT IS, THEREFORE, ORDERED, that the terms and conditions of pretrial

release in this matter are hereby REVOKED and it is Ordered Defendant be detained

pending further proceedings in this matter.



                                       Signed: April 27, 2017




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